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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 GENTEX CORPORATION and INDIGO
 TECHNOLOGIES, LLC,                                   Case No.: 6:21-cv-00755

                 Plaintiffs,                          JURY TRIAL DEMANDED

 THALES VISIONIX, INC.,

                 Involuntary Plaintiff,

        v.

 FACEBOOK, INC. and FACEBOOK
 TECHNOLOGIES, LLC,

                 Defendants.




                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Gentex Corporation (“Gentex”) and Indigo Technologies, LLC (“Indigo”) file

this Complaint for Patent Infringement and Demand for Jury Trial against Facebook, Inc.

(“Facebook”) and Facebook Technologies, LLC (“Facebook Technologies”) and allege the

following:

                                  NATURE OF THE ACTION

       1.       This is a civil action for infringement under the patent laws of the United States,

35 U.S.C. § 101 et seq., to redress Defendants’ unauthorized and knowing use of Plaintiffs’

patented virtual reality and motion tracking technologies in Defendants’ Oculus Rift S, Oculus

Quest, and Oculus Quest 2 products (collectively, with their respective related instructions,

systems, services, and software, the “Accused Products”).

       2.       Gentex is the exclusive field-of-use licensee of U.S. Patent Nos. 6,757,068 (the

“’068 patent”), 7,301,648 (the “’648 patent”), 8,224,024 (the “’024 patent”), 6,922,632 (the


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“’632 patent”), and 7,725,253 (the “’253 patent”) (collectively, the “Asserted Patents”) in the

market of consumer electronic products in the fields of entertainment and gaming, with the right

to sue for infringement thereof in its exclusive fields-of-use.

       3.       Defendants have infringed and continue to infringe, directly and indirectly, one or

more claims of each of the Asserted Patents by making, using, selling, and offering to sell the

Accused Products. Plaintiffs seek monetary damages to compensate for the harm caused by such

infringement.

                                          THE PARTIES

       4.       Plaintiff Gentex Corporation is a Delaware corporation with its principal place of

business in Carbondale, Pennsylvania.

       5.       Plaintiff Indigo Technologies, LLC is a Pennsylvania limited liability company

with its principal place of business in Simpson, Pennsylvania. Indigo is wholly owned by

Gentex. Indigo was previously the exclusive field-of-use licensee of the Asserted Patents in the

fields of entertainment and gaming, with the right to sue for infringement thereof in its exclusive

field of use. Indigo assigned its rights under its exclusive field-of-use license to Gentex effective

July 1, 2021, including the right to sue for infringement before the date of the assignment.

       6.       Involuntary Plaintiff Thales Visionix, Inc. is a Delaware corporation with its

principal place of business at 22605 Gateway Center Drive, Clarksburg, Maryland 20871.

Thales Visionix is the assignee and sole and exclusive owner of the Asserted Patents. Thales

Visionix is named as an involuntary plaintiff because it is the owner of the Asserted Patents and

may have an interest therein. Pursuant to the license agreement Thales Visionix entered into

with Indigo, Thales Visionix is obligated to join this action as a party plaintiff but has declined to

do so, and Thales Visionix is outside the Court’s jurisdiction.

       7.       Defendant Facebook, Inc. is a Delaware Corporation with its principal place of

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business at 1 Hacker Way, Menlo Park, CA 94025.

        8.       Defendant Facebook Technologies, LLC is a Delaware limited liability company

with its principal place of business at 1601 Willow Road, Menlo Park, CA 94025. On

information and belief, Facebook Technologies, LLC is a wholly owned subsidiary of Facebook,

Inc.

                                  JURISDICTION AND VENUE

        9.       This case arises under the Patent Act, 35 U.S.C. § 101 et seq. This Court has

original jurisdiction over this controversy under 28 U.S.C. §§ 1331 and 1338.

        10.      This Court has personal jurisdiction over Defendants under the Texas Long Arm

Statute because, among other things, Defendants “recruit[] Texas residents, directly or through

an intermediary located in this state, for employment inside or outside this state.” Tex. Civ.

Prac. & Rem. Code § 17.042(3).

        11.      This Court has personal jurisdiction over Facebook, including because Facebook

does continuous and systematic business in this District, including by selling the Accused

Products to residents of this District that Facebook knew would be used within this District in an

infringing manner, and by soliciting business from residents of this District.

        12.      Facebook is also subject to personal jurisdiction in this Court because, among

other things, it has a regular and established place of business at its offices in this District,

including multiple Facebook offices located in Austin, and elsewhere in Texas.

        13.      Facebook’s newest Austin office is in a large office building known as “Third +

Shoal,” occupying 256,500 square feet on 11 stories at 607 West Third Street, Austin, Texas




                                                   3
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78703.1 Facebook also maintains or has maintained offices at 300 West Sixth Street, Austin,

Texas 78701, 11601 Alterra Parkway, Austin, Texas 78758, and the Parmer Innovation Center at

13011 McCallen Pass, Austin, Texas 78753.2 Facebook’s multiple offices in Austin, Texas

constitute regular and established places of business.

       14.     Facebook has also reportedly leased the entire 320,000 square foot Domain 12

building in Austin,3 and is seeking to lease another 1,000,000 square feet in Austin.4

       15.     As of August 2020, Facebook had over 1,300 employees in Austin across its

multiple offices.5 Facebook’s Austin employees work in at least the following teams: AR/VR,

Advertising Technology, Business Development & Partnerships, Communications & Public

Policy, Software Engineering, Legal, Enterprise Engineering, People & Recruiting, Design &

User Experience, Infrastructure, Data & Analytics, and Sales & Marketing.6 Facebook is




1
  Erin Edgemon, First look: Facebook Headcount Swells as Social Media Giant Opens New
Austin Office, https://www.bizjournals.com/austin/news/2019/09/04/first-look-facebook-
headcount-swells-as-social.html (Sept. 4, 2019).
2
  Id.
3
  Paul Thompson, Facebook Still Hiring in Austin; No Plans To Give Up Splashy Office Space
Around Town, Top Local Exec Says,
https://www.bizjournals.com/austin/news/2020/08/01/facebook-still-growing-in-austin-
pandemic.html (August 1, 2020); Will Anderson & Marissa Luck, Facebook To Eat Up Big
Chunk Of Austin’s Second Downtown, Sources Say,
https://www.bizjournals.com/austin/news/2018/09/06/facebook-to-eat-up-big-chunk-of-austins-
second.html (Sept. 6, 2018).
4
  Kathryn Hardison, Sources: Facebook Wants 1M More Square Feet Downtown,
https://www.bizjournals.com/austin/news/2020/12/04/facebook-could-be-expanding-again-in-
austin.html?s=print (Dec. 4, 2020).
5
  Paul Thompson, Facebook Still Hiring in Austin; No Plans To Give Up Splashy Office Space
Around Town, Top Local Exec Says,
https://www.bizjournals.com/austin/news/2020/08/01/facebook-still-growing-in-austin-
pandemic.html (August 1, 2020).
6
  Facebook, Jobs in Austin, TX,
https://www.facebook.com/careers/locations/austin/?p[offices][0]=Austin%2C%20TX&offices[0
]=Austin%2C%20TX&results_per_page=100# (last visited Mar. 13, 2021).

                                                 4
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currently advertising about 273 jobs in Austin,7 including multiple openings in “VR and AR”—

i.e., virtual reality and augmented reality.8

        16.     On information and belief, the “VR and AR” team includes employees who work

on the Accused Products. For example, Facebook is recruiting for multiple positions at

“Facebook Reality Labs,” including in Austin, Texas, which includes responsibility for “Oculus”

products and “AR and VR software and content.”9

        17.     Based on publicly-available information, since 2012, Facebook has employed

approximately 289 recipients of H-1B visas who work in Austin.10

        18.     Facebook, directly and through agents, regularly conducts, solicits, and transacts

business in this District and elsewhere in Texas, including through sales of the Accused Products

and by providing services related to the Accused Products.

        19.     In particular, Facebook has committed and continues to commit acts of

infringement in violation of 35 U.S.C. § 271, and has made, used, marketed, distributed, offered

for sale, and sold infringing products in Texas, including in this District, and engaged in

infringing conduct within and directed at or from this District. The infringing Accused Products

and related services have been and continue to be distributed and used in this District.

        20.     This Court has personal jurisdiction over Facebook Technologies, including



7
  Id.
8
  Facebook, Jobs in AR/VR, https://www.facebook.com/careers/areas-of-
work/arvr/?p[teams][0]=AR%2FVR&teams[0]=AR%2FVR&offices[0]=Austin%2C%20TX#op
enpositions (last visited June 1, 2021).
9
  Facebook, Digital Design Engineer, Facebook Reality Labs,
https://www.facebook.com/careers/v2/jobs/2280933422206464/ (last visited June 1, 2021);
Facebook, Privacy Product Strategist, Facebook Reality Labs,
https://www.facebook.com/careers/v2/jobs/725356615060171/ (last visited June 4, 2021).
10
  https://h1bdata.info/index.php?em=facebook&job=&city=austin&year=All+Years (last visited
July 22, 2021).

                                                 5
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because Facebook Technologies does continuous and systematic business in this District,

including by selling the Accused Products to residents of this District that Facebook

Technologies knew would be used within this District in an infringing manner, and by soliciting

business from residents of this District.

         21.    This Court has personal jurisdiction over Facebook Technologies, in part because

Facebook Technologies does continuous and systematic business in this District, including by

selling the Accused Products to residents of this District that Facebook Technologies knew

would be used within this District in an infringing manner, and by soliciting business from

residents of this District.

         22.    In particular, Facebook Technologies has committed and continues to commit acts

of infringement in violation of 35 U.S.C. § 271, and has made, used, marketed, distributed,

offered for sale, and sold infringing products in Texas, including in this District, and engaged in

infringing conduct within and directed at or from this District, including through the Oculus

website.11 The infringing Accused Products and related services have been and continue to be

distributed and used in this District.

         23.    Facebook Technologies is a wholly owned subsidiary of Facebook that markets,

sells, and offers for sale the Accused Products, including on the Oculus website. On information

and belief, Facebook Technologies works in concert with Facebook and/or induces and/or is

induced by Facebook to make, use, sell, or offer to sell the Accused Products throughout the

United States, or import such products into the United States.

         24.    Facebook does not separately report revenue from Facebook Technologies in its

filings to the Securities and Exchange Commission, but reports combined revenue from its


11
     https://www.oculus.com/

                                                 6
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various products including the Accused Products. In particular, Facebook reports “Other

revenue” which includes revenue from delivery of consumer hardware devices.12 For 2020,

Facebook reported $1.796 billion of “Other revenue.” On information and belief, a substantial

portion of Facebook’s “Other revenue” was attributable to sales and deliveries of the Accused

Products. For example, Facebook CEO Mark Zuckerberg has confirmed that sales of the Oculus

Quest 2 drove a 156% increase in Facebook’s non-advertising revenue.13

       25.     On information and belief, Facebook not only owns but also operates Facebook

Technologies, including cooperative development and support of Facebook Technologies sales

and services. For example, Facebook requires users of the Oculus Quest 2 to use a Facebook

login and agree to Facebook’s terms of services.14 On information and belief, since 2019,

Oculus data, including which applications users use, has been used to provide advertisements on

Facebook for linked Oculus and Facebook accounts. In short, the Accused Products are

“Facebook’s apps and technologies.”15

       26.     Venue is proper in this District under 28 U.S.C. § 1391 and § 1400(b) because a

substantial part of the events or omissions giving rise to the claims occurred in this District, and

because Defendants have committed acts of infringement in this District and have a regular and


12
   Facebook 2020 10-K, https://sec.report/Document/0001326801-21-000014/ (Jan. 28, 2021).
13
   Ben Lang, Zuckerberg: Quest 2 ‘on track to be first mainstream VR headset’, Next Headset
Confirmed, https://www.roadtovr.com/zuckerberg-quest-2-mainstream-vr-headset-facebook-q4-
2020-earnings/ (Jan. 27, 2021).
14
   Oculus Blog, A Single Way to Log Into Oculus and Unlock Social Features,
https://www.oculus.com/blog/a-single-way-to-log-into-oculus-and-unlock-social-features/ (Aug.
18, 2020). Facebook has made “it clear that the Oculus platform is provided by Facebook and
will include information on how our users’ data is managed.” Id.; see Harry Baker, Everything
You Need To Know: Facebook Login, User Data and Privacy on Oculus Headsets,
https://uploadvr.com/facebook-login-privacy-data-quest-2/ (Jan. 31, 2021).
15
   Oculus Blog, A Single Way to Log Into Oculus and Unlock Social Features,
https://www.oculus.com/blog/a-single-way-to-log-into-oculus-and-unlock-social-features/ (Aug.
18, 2020).

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established place of business in this District.

                                   FACTUAL BACKGROUND

I.     INTERSENSE AND ERIC FOXLIN’S INVENTIONS IN SOURCELESS
       VIRTUAL REALITY

       27.     Eric Foxlin is a prolific inventor and entrepreneur named on 27 United States

patents in the fields of inertial tracking and virtual reality. Mr. Foxlin’s innovations began at the

Research Laboratory of Electronics at the Massachusetts Institute of Technology, where he

helped develop the world’s first inertial human motion tracker.

       28.     In 1996 Mr. Foxlin founded the company Intersense, Inc. and became its Chief

Technology Officer. Intersense became the first company in the world to exploit inertial sensors

in human-machine interaction.

       29.     Intersense was acquired by, and became a subsidiary of, Gentex in 2011.16 Mr.

Foxlin continued to lead Intersense after that acquisition.

       30.     In 2012, Intersense was acquired by the Thales Group, a global technology and

defense company. Intersense became Thales Visionix, Inc., and operated as a subsidiary of

Thales Group. Mr. Foxlin became the Director of Advanced Programs at Thales Visionix and

continued to lead development of inertial tracking systems, including systems to aid flight pilot

situational awareness.

II.    THE ASSERTED PATENTS

       31.     U.S. Patent 6,757,068 (the “’068 patent”) is entitled “Self-Referenced Tracking”

and issued on June 29, 2004. A true and correct copy of the ’068 patent is attached as Exhibit A

to this Complaint. Gentex is the exclusive field-of-use licensee of the ’068 patent in the market


16
   Press Release, Gentex Corporation Announces Acquisition of Intersense Incorporated,
https://www.gentexcorp.com/gentex-corporation-announces-acquisition-of-intersense-
incorporated/ (Nov. 21, 2011).

                                                  8
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of consumer electronic products in the fields of entertainment and gaming, with the right to sue

for infringement thereof in its exclusive fields-of-use. The ’068 patent is valid and enforceable

under the United States patent laws.

        32.     The ’068 patent claims are directed to patent-eligible inventions. They recite,

among other things, specifically configured head-mounted tracking systems and methods of use

that are advantageously sourceless—that is, they can be used anywhere with no set-up of an

external source that is not on the user’s body, making the systems more accessible, intuitive, and

easy-to-use. The systems and methods of the ’068 patent claims also include specific

configurations and methods to address problems that arise in the unique context of virtual reality

devices, including specific and novel methods of correcting for tracking errors in systems that do

not use an external source—for example, the “drift” of the position of one sensor relative to

another. These claimed configurations and methods constituted new and inventive tracking

concepts enabling immersive visualization even in unprepared environments and thus provided

advantages over the prior art. It was not well-understood, routine, or conventional to configure

or use a head-mounted tracking system as claimed in the ’068 patent at the time of the patent’s

effective filing date.

        33.     U.S. Patent 7,301,648 (the “’648 patent”) is entitled “Self-Referenced Tracking”

and issued on November 27, 2007. A true and correct copy of the ’648 patent is attached as

Exhibit B to this Complaint. Gentex is the exclusive field-of-use licensee of the ’648 patent in

the market of consumer electronic products in the fields of entertainment and gaming, with the

right to sue for infringement thereof in its exclusive fields-of-use. The ’648 patent is valid and

enforceable under the United States patent laws.

        34.     The ’648 patent claims are directed to patent-eligible inventions. They recite,



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among other things, methods of using specifically configured head-mounted tracking systems

that are advantageously sourceless—that is, they can be used anywhere with no set-up of an

external source that is not on the user’s body, making the systems more accessible, intuitive, and

easy-to-use. The methods of the ’648 patent claims also include specific methods to address

problems that arise in the unique context of virtual reality devices, including specific and novel

methods of correcting for tracking errors in systems that do not use an external source—for

example, the drift of the position of one sensor relative to another. These claimed methods

constituted new and inventive tracking concepts enabling immersive visualization even in

unprepared environments and thus provided advantages over the prior art. It was not well-

understood, routine, or conventional to configure or use a head-mounted tracking system as

claimed in the ’648 patent at the time of the patent’s effective filing date.

       35.     U.S. Patent 8,224,024 (the “’024 patent”) is entitled “Tracking Objects with

Markers” and issued on July 27, 2012. A true and correct copy of the ’024 patent is attached as

Exhibit C to this Complaint. Gentex is the exclusive field-of-use licensee of the ’024 patent in

the market of consumer electronic products in the fields of entertainment and gaming, with the

right to sue for infringement thereof in its exclusive fields-of-use. The ’024 patent is valid and

enforceable under the United States patent laws.

       36.     The ’024 patent claim is directed to a patent-eligible invention. It recites a

specific improvement to tracking an object using both pitch information from a sensor on the

object and coordinate information from two points on an object. This method improved upon

prior tracking methods that required more than two points on an object, and thus provided

advantages over the prior art that required more cameras and/or tracking markers. The claimed

method thus makes it possible to use small or inexpensive cameras in combination with inertial



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sensors to still achieve six-degree-of-freedom tracking performance—tracking along three

rotational and three translational axes—by integrating information from an inertial sensor. It was

not well-understood, routine, or conventional to track an object as claimed in the ’024 patent at

the time of the patent’s effective filing date.

        37.     U.S. Patent 6,922,632 (the “’632 patent”) is entitled “Tracking, Auto-Calibration,

and Map-Building System” and issued on July 26, 2005. A true and correct copy of the ’632

patent is attached as Exhibit D to this Complaint. Gentex is the exclusive field-of-use licensee of

the ’632 patent in the market of consumer electronic products in the fields of entertainment and

gaming, with the right to sue for infringement thereof in its exclusive fields-of-use. The ’632

patent is valid and enforceable under the United States patent laws.

        38.     The ’632 patent claims are directed to patent-eligible inventions. The claims

recite specific improvements to tracking systems, including by applying sensor configuration

information to update the estimated position and orientation of an object, and thus provided

advantages over the prior art. Among other things, the claims enable versatile functionalities

such that the system can, for example, switch between simultaneous tracking and other

applications. It was not well-understood, routine, or conventional to implement sensor

configuration information to track an object as claimed in the ’632 patent at the time of the

patent’s effective filing date.

        39.     U.S. Patent 7,725,253 (the “’253 patent”) is entitled “Tracking, Auto-Calibration,

and Map-Building System” and issued on May 25, 2010. A true and correct copy of the ’253

patent is attached as Exhibit E to this Complaint. Gentex is the exclusive field-of-use licensee of

the ’253 patent in the market of consumer electronic products in the fields of entertainment and

gaming, with the right to sue for infringement thereof in its exclusive fields-of-use. The ’253



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patent is valid and enforceable under the United States patent laws.

        40.     The ’253 patent claims are directed to patent-eligible inventions. The claims

recite a specific improvement to tracking systems, including by applying sensor configuration

information to update the estimated position and orientation of an object, and thus provided

advantages over the prior art. Among other things, the claims enable versatile functionalities

such that the system can, for example, switch between simultaneous tracking and other

applications. It was not well-understood, routine, or conventional to implement sensor

configuration information to track an object as claimed in the ’253 patent at the time of the

patent’s effective filing date.

        41.     The Asserted Patents claim, among other things, specific implementations of

solutions to problems in tracking and monitoring systems. For example, the patents describe

specific advantages achieved by the claimed systems and methods compared to conventional

tracking systems. E.g., Ex. A, ’068 patent at 1:10-45; Ex. B, ’648 patent at 1:17-52; Ex. C, ’024

patent at 2:27-3:25; Ex. D, ’632 patent at 2:35-46; Ex. E, ’253 patent at 2:36-47.

        42.     The Asserted Patents further claim inventive concepts that are substantially more

than abstract ideas. For example, the claimed technologies were not well-understood, routine, or

conventional, and they achieve specific technological advances. E.g., Ex. A, ’068 patent at 1:35-

45; Ex. B, ’648 patent at 1:40-52; Ex. C, ’024 patent at 2:27-3:25; Ex. D, ’632 patent at 2:35-46;

Ex. E, ’253 patent at 2:36-47.

III.    THE ACCUSED PRODUCTS

        43.     Facebook entered the market for virtual reality devices with its acquisition of

Oculus VR, Inc., which was announced in March 2014.17 Facebook originally disclosed that it

17
  Facebook to Acquire Oculus, https://about.fb.com/news/2014/03/facebook-to-acquire-oculus/
(Mar. 25, 2014).

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acquired Oculus for $2 billion, but later confirmed that it paid hundreds of millions of dollars

more than that.18 The acquisition closed on July 21, 2014.

       44.     The first virtual reality device marketed by Defendants was the Oculus Rift,

which was released in 2016. Unlike the Accused Products, the Oculus Rift used external sensors

for tracking, as shown below:19




       45.     Defendants’ next virtual reality device was the Oculus Quest. Defendants

announced the Oculus Quest no later than September 26, 2018, began taking preorders no later

than April 30, 2019,20 and began delivering the Oculus Quest to customers on May 21, 2019,

when Defendants began offering the Oculus Quest for retail sale.




18
   Lisa Maria Garza, Facebook’s Zuckerberg Questioned at Trial over Virtual-Reality
Technology, Reuters (Jan. 17, 2017), https://www.reuters.com/article/us-facebook-
zuckerberg/facebooks-zuckerberg-questioned-at-trial-over-virtual-reality-technology-
idUSKBN1512GO.
19
   How Do I Set Up My Play Area for Oculus Rift and Rift S?, Oculus Support,
https://support.oculus.com/1814957818761397/; Dominic Brennan, Oculus Cuts Price of Rift
Sensors to $59, RoadToVR (Mar. 3, 2017), https://www.roadtovr.com/oculus-cuts-price-rift-
sensors-59/.
20
   Oculus Blog, Game On: Oculus Quest and Rift S Pre-Orders Are Live! Shipping Begins May
21, https://www.oculus.com/blog/game-on-oculus-quest-and-rift-s-pre-orders-are-live-shipping-
begins-may-21/ (Apr. 30, 2019).

                                                13
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       46.     Unlike the Oculus Rift, the Oculus Quest (pictured below) featured sourceless

tracking. Reviewers praised “Facebook’s first standalone headset that offers [six-degrees-of-

freedom] tracking on both the head and hands,” explaining that sourceless tracking (e.g., “inside-

out tracking”) “is perhaps the most important element” of the device.21




       47.     Defendants released the Oculus Rift S around the same time as the Oculus Quest.

Defendants announced the Oculus Rift S in March 2019, began taking preorders no later than

April 30, 2019,22 and began delivering the Oculus Rift S to customers on May 21, 2019, the

same day as the Oculus Quest.

       48.     Like the Oculus Quest, the Oculus Rift S (pictured below) uses sourceless

tracking, which reviewers have described as an important feature.23



21
   E.g., Ben Lang, Oculus Quest Review – The First Great Standalone VR Headset, RoadToVR
(May 21, 2019), https://www.roadtovr.com/oculus-quest-review-the-first-great-standalone-vr-
headset/.
22
   Oculus Blog, Game On: Oculus Quest and Rift S Pre-Orders Are Live! Shipping Begins May
21, https://www.oculus.com/blog/game-on-oculus-quest-and-rift-s-pre-orders-are-live-shipping-
begins-may-21/ (Apr. 30, 2019).
23
   Ben Lang, Oculus Rift S Revealed with Inside-out Tracking, Resolution Bump, & New
Ergonomics, RoadToVR (Mar. 20, 2019), https://www.roadtovr.com/oculus-rift-s-specs-release-
date-announcement-gdc-2019/.

                                               14
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       49.     Defendants’ most recent virtual reality product is the Oculus Quest 2. Defendants

announced and began taking pre-orders for the Oculus Quest 2 on September 16, 2020, and

began delivering the Oculus Quest 2 to customers on October 13, 2020, when Defendants began

offering the Oculus Quest 2 for retail sale.

       50.     Like the Oculus Quest, the Oculus Quest 2 (pictured below) is a standalone

headset, and like the Quest and Rift S, it uses sourceless tracking. As with the Quest, Reviewers

singled out the Quest 2’s sourceless (i.e., “inside-out”) tracking system for praise.24




24
   Ben Lang, Oculus Quest 2 Review – The Best Standalone Headset Gets Better in (Almost)
Every Way, RoadToVR (Oct. 13, 2020), https://www.roadtovr.com/oculus-quest-2-review-
better-in-almost-every-way/2/; Oculus Quest 2, Facebook Technologies,
https://www.oculus.com/quest-2/.

                                                 15
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       51.      Facebook’s CEO Mark Zuckerberg has announced that he believes that the

Oculus Quest 2 is “on track to be the first mainstream virtual reality headset.”25

IV.    DEFENDANTS’ NOTICE OF THE ASSERTED PATENTS AND CONTINUED
       INFRINGEMENT

       52.      Defendants have been on actual notice of the Asserted Patents since long before

this Complaint and have continued to infringe directly and indirectly the Asserted Patents with

actual knowledge or reckless disregard for the fact that their actions constitute acts of

infringement.

       53.      For example, Facebook performed detailed due diligence in connection with its

$2-plus-billion-dollar acquisition of Oculus VR, Inc. in 2014. Facebook’s CEO has testified that

Facebook employees conducted “technical diligence … trying to learn about the virtual reality

field” before the acquisition, and that diligence lasted for “months.” 26 Mr. Zuckerberg further

testified that investigation into “intellectual property” was an “automatic[] thing” that would




 Ian Hamilton, Mark Zuckerberg: Quest 2 ‘Is On Track To Be The First Mainstream VR
25

Headset’, RoadToVR (Jan. 27, 2021), https://uploadvr.com/mark-zuckerberg-quest-2-
mainstream/.
26
  Zenimax Media Inc. v. Oculus VR Inc., No. 14-cv-01849, ECF No. 928, at 618:14-18, 667:23-
668:23 (N.D. Tex. Jan. 17, 2017).

                                                 16
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have been examined before closing the deal with Oculus.27

          54.     On information and belief, Facebook became aware of and reviewed each of the

Asserted Patents during due diligence and investigation into virtual reality technology and

intellectual property prior to its 2014 acquisition of Oculus VR, Inc.

          55.     The Asserted Patents and named inventor Eric Foxlin are prominently known and

widely cited in the virtual reality field, and should have surfaced in any diligent search, as

described publicly by Facebook’s CEO.

          56.     On information and belief, Defendants also became aware of the Asserted Patents

during prosecution of their own patents. On information and belief, Defendants share a legal

department and knowledge of the Asserted Patents through their patent prosecution activities,

which are ultimately controlled by Facebook.

          57.     Defendants have had actual knowledge of the ’024 patent since no later than May

31, 2018, when Facebook cited U.S. Patent App. Pub. No. 2007/0081695 corresponding to the

’024 patent during prosecution of Facebook’s own U.S. Patent No. 10,594,396, naming as

inventors Chiyun Xia, Harvard Keese Harding, Jr., Chien-Chung Chen, and Ferze Daligues

Patawaran.28 On information and belief, knowing the relevance of that publication to their own

technology, Defendants identified and reviewed the ’024 patent upon issuance.

          58.     Defendants have had actual knowledge of the ’253 patent since no later than May

31, 2018, when Facebook cited the ’253 patent during prosecution of Facebook’s own U.S.

Patent No. 10,594,396.29 On information and belief, knowing the relevance of the ’253 patent to

their own technology, this prosecution put Defendants on notice of other patents in the same

27
     Id. at 671:1-22.
28
     U.S. Patent Application 15/986,148, Information Disclosure Statement (May 31, 2018).
29
     Id.

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family as the ’253 patent at the same time, including at least the ’632 patent which is the parent

of the ’253 patent and listed on the face of the ’632 patent.

       59.     Defendants have had actual knowledge of the ’068 patent since no later than April

17, 2019, when Facebook Technologies cited U.S. Patent App. Pub. No. 2002/0024675

corresponding to the ’068 patent during prosecution of Facebook Technologies’ own U.S. Patent

No. 10,514,545, naming as inventor Renzo De Nardi.30 Facebook Technologies again cited the

same U.S. Patent App. Pub. No. 2002/0024675 corresponding to the ’068 patent in October 2019

during prosecution of Facebook Technologies’ own U.S. Patent No. 10,572,002, naming

inventors Renzo De Nardi and Richard Andrew Newcombe.31 And in May 2019, the Patent

Examiner cited the same U.S. Patent App. Pub. No. 2002/0024675 corresponding to the ’068

patent during prosecution of still another Facebook Technologies patent, U.S. Patent No.

10,528,133, also naming Renzo De Nardi and Richard Andrew Newcombe as inventors.32 On

information and belief, knowing the relevance of U.S. Patent App. Pub. No. 2002/0024675 to

their own technology, Defendants identified and reviewed the ’068 patent upon issuance. In

addition, on information and belief, knowing the relevance of U.S. Patent App. Pub. No.

2002/0024675 and the corresponding ’068 patent to their own technology, Defendants identified

and reviewed the other patents in the same family as the ’068 patent at the same time, including

at least the ’648 patent, which had already issued by the time of the relevant prosecutions

discussed herein and would have been easily identified when viewing the ’068 patent on the

website of the United States Patent and Trademark Office.



30
   U.S. Patent Application 15/835,846, Information Disclosure Statement (Apr. 17, 2019).
31
   U.S. Patent Application 15/919,887, Information Disclosure Statement (Oct. 22, 2019).
32
  U.S. Patent Application 15/919,869, Non-Final Rejection & List of References (May 31,
2019).

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        60.    In addition to the foregoing, on July 8, 2020, counsel for Gentex contacted

Defendants’ counsel responsible for technology transactions regarding Oculus products,

including the Accused Products, by email to identify the Asserted Patents and inquire about

whether Defendants would agree to take a license. That email attached the ’068 and ’648

patents, as well as the full list of patents within the exclusive field-of-use, including the Asserted

Patents. On information and belief, Facebook communicated these materials internally and

reviewed the Asserted Patents at that time. Facebook responded, but the parties did not reach

any agreement.

        61.    On January 26, 2021, counsel for Gentex and Indigo again contacted Defendants

and informed them that the Accused Products infringe one or more claims of each of the

Asserted Patents. That correspondence enclosed over 70 pages of claim charts identifying how

the Accused Products infringe one or more exemplary claims of each of the Asserted Patents.

Despite such notice, and Defendants taking months to “investigate” the Asserted Patents and

information regarding their infringement, Defendants did not take a license or stop their

infringing activity with respect to the Accused Products.

        62.    Instead, Defendants continue to infringe directly and indirectly the Asserted

Patents without authority and with actual knowledge or reckless disregard for the fact that their

actions constitute infringement of the Asserted Patents. Defendants’ infringement has been and

continues to be within Gentex’s exclusive fields-of-use.

        63.    Defendants’ actions have caused harm, and continue to cause harm, to Plaintiffs.

                  COUNT I: INFRINGEMENT OF U.S. PATENT 6,757,068

        64.    Plaintiffs incorporate by reference and re-allege each of the foregoing paragraphs

of this Complaint as if fully set forth herein.

        65.    Defendants have directly infringed, and continue to directly infringe, one or more

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claims of the ’068 patent, including at least claim 54, either literally or under the doctrine of

equivalents, by making, using, selling, and offering for sale, without authority or license, the

Accused Products in violation of 35 U.S.C. § 271(a). The Accused Products are non-limiting

examples that were identified based on publicly available information, and Plaintiffs reserve the

right to identify additional infringing activities, products, and services, including, for example,

on the basis of information obtained during discovery.

        66.    Defendants have induced and continue to actively, knowingly, and intentionally

induce infringement of one or more claims of the ’068 patent, including at least claim 54, under

35 U.S.C. § 271(b) by actively encouraging others to make, use, sell, and offer to sell in the

United States, the Accused Products in a manner specifically intended to infringe the ’068 patent.

        67.    Defendants have contributed and continue to contribute to the infringement of one

or more claims of the ’068 patent, including at least claim 54, under 35 U.S.C. § 271(c) by

offering to sell and selling a component of the Accused Products, or a material or apparatus for

use in practicing a process claimed in the ’068 patent, that constitutes a material part of the

inventions, knowing the same to be especially made or especially adapted for use in an

infringement of the ’068 patent, and not a staple article or commodity of commerce suitable for

substantial noninfringing use.

        68.    For example, claim 54 of the ’068 patent recites: A tracking system comprising a

sourceless orientation tracker for mounting on a user’s head, and a position tracker adapted to

track a position of a first localized feature associated with a limb of the user relative to the user’s

head.

        69.    The Accused Products are, or contain, a tracking system. For example, the

Accused Products are systems for tracking the position and orientation of objects.



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       70.       The Accused Products include a sourceless orientation tracker for mounting on a

user’s head. For example, the Accused Products include a head-mounted display (“HMD”) that

is a sourceless orientation tracker and goes on a user’s head.

       71.       The Accused Products include a position tracker adapted to track a position of a

first localized feature associated with a limb of the user relative to the user’s head. For example,

the HMD is adapted to track a position of Oculus controllers or the user’s hands relative to the

user’s head.33

       72.       Exhibit F includes a chart comparing exemplary claims of the ’068 patent to the

Accused Products and their use, and is hereby incorporated by reference.

       73.       The foregoing allegations are based on publicly available information and a

reasonable investigation of the structure and operation of the Accused Products. Plaintiffs

reserve the right to modify this description, including, for example, on the basis of information

about the Accused Products that they obtain during discovery.

       74.       Defendants had actual knowledge of the ’068 patent as described above in

paragraphs 52 through 61, by July 21, 2014, or alternatively April 17, 2019, or alternatively July

8, 2020, or alternatively January 26, 2021.

       75.       Accordingly, before Defendants launched and began taking preorders for all of

the Accused Products, Defendants had knowledge of, or were willfully blind to, the ’068 patent

and that their activities infringed one or more claims of the ’068 patent. At the times the

Accused Products launched, Defendants also knew or should have known that their users were



33
   See, e.g., Facebook AI, Powered by AI: Oculus Insight,
https://ai.facebook.com/blog/powered-by-ai-oculus-insight/ (Aug. 22, 2019) (“Oculus Insight
computes an accurate and real-time position for the headset and controllers every millisecond in
order to translate your precise movements into VR, so you feel truly present. It uses SLAM to
track the user’s headset position, and constellation tracking to track the controller positions.”).

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infringing the ’068 patent, and Defendants took actions with the specific intent for their users to

do so, including as set forth in Exhibit F. These actions include specifically promoting and

encouraging users to use the sourceless tracking methods and systems claimed in the ’068 patent.

Furthermore, the Accused Products are especially made and adapted to use in the sourceless

tracking methods and systems claimed in the ’068 patent, which Defendants promote as an

important part of the Accused Products.

        76.    Moreover, by at least July 22, 2021, Plaintiffs disclosed, at least by filing this

Complaint, the existence of the ’068 patent and identified the Accused Products that infringe the

’068 patent. Based on this disclosure, Defendants had further knowledge of, or were willfully

blind to, the ’068 patent and that their activities infringed the ’068 patent. Since July 22, 2021,

Defendants also knew or should have known that their users were infringing the ’068 patent.

        77.    Defendants’ direct and indirect infringement of the ’068 patent has been, and

continues to be, within Gentex’s exclusive fields-of-use.

        78.    Defendants’ infringement has damaged and continues to damage Plaintiffs in an

amount yet to be determined, of at least a reasonable royalty.

        79.    Defendants have undertaken their infringing actions despite knowing that such

actions infringed the ’068 patent. As such, Defendants have willfully infringed and continue to

willfully infringe the ’068 patent.

        80.    This is an exceptional case. Plaintiffs are entitled to attorneys’ fees and costs

under 35 U.S.C. § 285 as a result of Defendants’ infringement of the ’068 patent.

                 COUNT II: INFRINGEMENT OF U.S. PATENT 7,301,648

        81.    Plaintiffs incorporate by reference and re-allege each of the foregoing paragraphs

of this Complaint as if fully set forth herein.

        82.    Defendants have directly infringed, and continue to directly infringe, one or more

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claims of the ’648 patent, including at least claim 40, either literally or under the doctrine of

equivalents, by using, without authority or license, the Accused Products in violation of 35

U.S.C. § 271(a). The Accused Products are non-limiting examples that were identified based on

publicly available information, and Plaintiffs reserve the right to identify additional infringing

activities, products, and services, including, for example, on the basis of information obtained

during discovery.

       83.     Defendants have induced and continue to actively, knowingly, and intentionally

induce infringement of one or more claims of the ’648 patent, including at least claim 40 under

35 U.S.C. § 271(b) by actively encouraging others to make, use, sell, and offer to sell in the

United States, the Accused Products in a manner specifically intended to infringe the ’648 patent.

       84.     Defendants have contributed and continue to contribute to the infringement of one

or more claims of the ’648 patent, including at least claim 40 under 35 U.S.C. § 271(c) by

offering to sell and selling a component of the ’648 Accused Products, or a material or apparatus

for use in practicing a process claimed in the ’648 patent, that constitutes a material part of the

inventions, knowing the same to be especially made or especially adapted for use in an

infringement of the ’648 patent, and not a staple article or commodity of commerce suitable for

substantial noninfringing use.

       85.     For example, claim 40 of the ’648 patent recites: A method comprising:

mounting a first sourceless orientation tracker on a user’s head; mounting a second sourceless

orientation tracker on a body part of the user other than the user’s head; and utilizing angular rate

and linear acceleration signals from said first and second trackers to derive a differential inertial

signal representative of a motion of the body part relative to the head.

       86.     Defendants induce or contribute to users practicing a method. For example,



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Defendants encourage, direct, or promote users of the Accused Products to carry out the claimed

method steps.

        87.     Defendants encourage, direct, or promote users of the Accused Products to mount

a first sourceless orientation tracker on a user’s head. For example, Defendants have marketed,

distributed, offered for sale, and sold the Accused Products which include a head-mounted

display (“HMD”) that is a sourceless orientation tracker that goes on a user’s head. The Accused

Products are especially adapted to carry out this process and have no substantial noninfringing

uses.

        88.     Defendants encourage, direct, or promote users of the Accused Products to mount

a second sourceless orientation tracker on a body part of the user other than the user's head. For

example, Defendants have marketed, distributed, offered for sale, and sold the Accused Products

which include a second sourceless orientation tracker (e.g., controllers) on a body part of the user

other than the user’s head (e.g., the hands). The Accused Products are especially adapted to

carry out this process and have no substantial noninfringing uses.

        89.     Defendants encourage, direct, or promote users to use the Accused Products to

utilize angular rate and linear acceleration signals from said first and second trackers to derive a

differential inertial signal representative of a motion of the body part relative to the head. For

example, Defendants have marketed, distributed, offered for sale, and sold the Accused Products

which utilize angular rate (e.g., angular velocity) and linear acceleration signals from the HMD

and controllers to derive a differential inertial signal representative of a motion of the user’s

body part (e.g., the hands) relative to the head. The Accused Products are especially adapted to

carry out this process and have no substantial noninfringing uses.

        90.     Exhibit G includes a chart comparing exemplary claims of the ’648 patent to the



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Accused Products and their use, and is hereby incorporated by reference.

       91.     The foregoing allegations are based on publicly available information and a

reasonable investigation of the structure and operation of the Accused Products. Plaintiffs

reserve the right to modify this description, including, for example, on the basis of information

about the Accused Products that they obtain during discovery.

       92.     Defendants had actual knowledge of the ’648 patent as described above in

paragraphs 52 through 61, by July 21, 2014, or alternatively April 17, 2019, or alternatively July

8, 2020, or alternatively January 26, 2021.

       93.     Accordingly, before Defendants launched and began taking preorders for all of

the Accused Products, Defendants had knowledge of, or were willfully blind to, the ’648 patent

and that their activities infringed the one or more claims of the ’648 patent. At the times the

Accused Products launched, Defendants also knew or should have known that their users were

infringing the ’648 patent, and Defendants took actions with the specific intent for their users to

do so, including as set forth in Exhibit G. These actions include specifically promoting and

encouraging users to use the sourceless tracking methods claimed in the ’648 patent.

Furthermore, the Accused Products are especially made and adapted to use in the sourceless

tracking methods claimed in the ’648 patent, which Defendants promote as an important part of

the Accused Products.

       94.     Moreover, by at least July 22, 2021, Plaintiffs disclosed, at least by filing this

Complaint, the existence of the ’648 patent and identified the Accused Products that infringe the

’648 patent. Based on this disclosure, Defendants had knowledge of, or were willfully blind to,

the ’648 patent and that their activities infringed the ’648 patent. Since July 22, 2021,

Defendants also knew or should have known that their users were infringing the ’648 patent.



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        95.    Defendants’ direct and indirect infringement of the ’648 patent has been, and

continues to be, within Gentex’s exclusive fields-of-use.

        96.    Defendants’ infringement has damaged and continues to damage Plaintiffs in an

amount yet to be determined, of at least a reasonable royalty.

        97.    Defendants have undertaken their infringing actions despite knowing that such

actions infringed the ’648 patent. As such, Defendants have willfully infringed and continue to

willfully infringe the ’648 patent.

        98.    This is an exceptional case. Plaintiffs are entitled to attorneys’ fees and costs

under 35 U.S.C. § 285 as a result of Defendants’ infringement of the ’648 patent.

                 COUNT III: INFRINGEMENT OF U.S. PATENT 8,224,024

        99.    Plaintiffs incorporate by reference and re-allege each of the foregoing paragraphs

of this Complaint as if fully set forth herein.

        100.   Defendants have directly infringed, and continue to directly infringe, claim 1 of

the ’024 patent, either literally or under the doctrine of equivalents, by using, without authority

or license, the Accused Products in violation of 35 U.S.C. § 271(a). The Accused Products are

non-limiting examples that were identified based on publicly available information, and

Plaintiffs reserve the right to identify additional infringing activities, products, and services,

including, for example, on the basis of information obtained during discovery.

        101.   Defendants have induced and continue to actively, knowingly, and intentionally

induce infringement of claim 1 of the ’024 patent under 35 U.S.C. § 271(b) by actively

encouraging others to make, use, sell, and offer to sell in the United States, the Accused Products

in a manner specifically intended to infringe the ’024 patent.

        102.   Defendants have contributed and continue to contribute to the infringement of

claim 1 of the ’024 patent under 35 U.S.C. § 271(c) by offering to sell and selling a component

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of the ’024 Accused Products, or a material or apparatus for use in practicing a process claimed

in the ’024 patent, that constitutes a material part of the inventions, knowing the same to be

especially made or especially adapted for use in an infringement of the ’024 patent, and is not a

staple article or commodity of commerce suitable for substantial noninfringing use.

       103.    Claim 1 of the ’024 patent recites: A method comprising obtaining a camera

image from a camera and processing said camera image in a data processor by computing the

spatial location and azimuth of an object from the locations, in said camera image, of exactly two

points on the object, and information about an orientation of the object, and generating one or

more signals representative of the location and azimuth of the object, wherein computing the

azimuth of the object comprises: receiving coordinate information for images, on an imaging

device of a camera, of two points on an object, receiving pitch information from a sensor on the

object, using the coordinate information and the pitch information to obtain candidate values for

the azimuth of the object, selecting one azimuth value based on an evaluation of the candidate

azimuth values in equations relating the coordinate information and pitch information to

distances of the points from the camera.

       104.    Defendants induce or contribute to users practicing a method comprising

obtaining a camera image from a camera and processing said camera image in a data processor.

For example, Defendants encourage, direct, or promote users of the Accused Products to use the

Accused Products to obtain a camera image from a camera (e.g., a camera on the HMD) and

process said camera image in a data processor (e.g., the processor in the HMD (Oculus Quest,

Oculus Quest 2) or operably connected to the HMD (Oculus Rift S)).

       105.    Defendants encourage, direct, or promote users to use the Accused Products to

compute the spatial location and azimuth of an object from the locations, in said camera image,



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of exactly two points on the object, and information about an orientation of the object, and

generate one or more signals representative of the location and azimuth of the object. For

example, Defendants have marketed, distributed, offered for sale, and sold the Accused Products,

which include an HMD with a data processor (Oculus Quest, Oculus Quest 2) or an HMD

operably connected to a data processor (Oculus Rift S) that computes the spatial location and

azimuth of an object from the locations, in said camera image, of exactly two points on the

object (e.g., two infrared markers on the controllers), and information about an orientation of the

object, and generate one or more signals representative of the location and azimuth of the

object.34 The Accused Products are especially adapted to carry out this process and have no

substantial noninfringing uses.

       106.    Defendants encourage, direct, or promote users to use the Accused Products to

compute the azimuth of the object by receiving coordinate information for images, on an

imaging device of a camera, of two points on an object, receiving pitch information from a

sensor on the object, using the coordinate information and the pitch information to obtain

candidate values for the azimuth of the object, selecting one azimuth value based on an

evaluation of the candidate azimuth values in equations relating the coordinate information and

pitch information to distances of the points from the camera. For example, Defendants have

marketed, distributed, offered for sale, and sold the Accused Products which compute the

azimuth of the object (e.g., a controller) by receiving coordinate information for images, on an

imaging device of a camera, of two points on an object (e.g., two infrared markers on the

controllers), receiving pitch information from a sensor on the object (e.g., the controllers’ inertial


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   See, e.g., Andrew Melim, Oculus Blog, Tracking Technology Explained: LED Matching,
https://developer.oculus.com/blog/tracking-technology-explained-led-matching/?locale=en_US
(Nov. 4, 2019).

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sensors), using the coordinate information and the pitch information to obtain candidate values

for the azimuth of the object, selecting one azimuth value based on an evaluation of the

candidate azimuth values in equations relating the coordinate information and pitch information

to distances of the points from the camera. The Accused Products are especially adapted to carry

out this process and have no substantial noninfringing uses.

       107.    Exhibit H includes a chart comparing claim 1 of the ’024 patent to the Accused

Products and their use, and is hereby incorporated by reference.

       108.    The foregoing allegations are based on publicly available information and a

reasonable investigation of the structure and operation of the Accused Products. Plaintiffs

reserve the right to modify this description, including, for example, on the basis of information

about the Accused Products that they obtain during discovery.

       109.    Defendants had actual knowledge of the ’024 patent as described above in

paragraphs 52 through 61, by July 21, 2014, or alternatively May 31, 2018, or alternatively July

8, 2020, or alternatively January 26, 2021.

       110.    Accordingly, before Defendants launched and began taking preorders for all of

the Accused Products, Defendants had knowledge of, or were willfully blind to, the ’024 patent

and that their activities infringed claim 1 of the ’024 patent. At the times the Accused Products

launched, Defendants also knew or should have known that their users were infringing the ’024

patent, and Defendants took actions with the specific intent for their users to do so, including as

set forth in Exhibit H. These actions include specifically promoting and encouraging users to use

the two-point tracking method claimed in the ’024 patent. Furthermore, the Accused Products

are especially made and adapted to use in the two-point tracking method claimed in the ’024

patent, which Defendants promote as an important part of the Accused Products.



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        111.   Moreover, by at least July 22, 2021, Plaintiffs disclosed, at least by filing this

Complaint, the existence of the ’024 patent and identified the Accused Products that infringe the

’024 patent. Based on this disclosure, Defendants had knowledge of, or were willfully blind to,

the ’024 patent and that their activities infringed the ’024 patent. Since July 22, 2021,

Defendants also knew or should have known that their users were infringing the ’024 patent.

        112.   Defendants’ direct and indirect infringement of the ’024 patent has been, and

continues to be, within Gentex’s exclusive fields-of-use.

        113.   Defendants’ infringement has damaged and continues to damage Plaintiffs in an

amount yet to be determined, of at least a reasonable royalty.

        114.   Defendants have undertaken their infringing actions despite knowing that such

actions infringed the ’024 patent. As such, Defendants have willfully infringed and continue to

willfully infringe the ’024 patent.

        115.   This is an exceptional case. Plaintiffs are entitled to attorneys’ fees and costs

under 35 U.S.C. § 285 as a result of Defendants’ infringement of the ’024 patent.

                 COUNT IV: INFRINGEMENT OF U.S. PATENT 6,992,632

        116.   Plaintiffs incorporate by reference and re-allege each of the foregoing paragraphs

of this Complaint as if fully set forth herein.

        117.   Defendants have directly infringed, and continue to directly infringe, one or more

claims of the ’632 patent, including at least claim 66, either literally or under the doctrine of

equivalents, by making, using, selling, and offering for sale, without authority or license, the

Accused Products in violation of 35 U.S.C. § 271(a). The Accused Products are non-limiting

examples that were identified based on publicly available information, and Plaintiffs reserve the

right to identify additional infringing activities, products, and services, including, for example,

on the basis of information obtained during discovery.

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          118.   Defendants have induced and continue to actively, knowingly, and intentionally

induce infringement of one or more claims of the ’632 patent, including at least claim 66, under

35 U.S.C. § 271(b) by actively encouraging others to make, use, sell, and offer to sell in the

United States, the Accused Products in a manner specifically intended to infringe the ’632 patent.

          119.   Defendants have contributed and continue to contribute to the infringement of one

or more claims of the ’632 patent, including at least claim 66, under 35 U.S.C. § 271(c) by

offering to sell and selling a component of the ’632 Accused Products, or a material or apparatus

for use in practicing a process claimed in the ’632 patent, that constitutes a material part of the

inventions, knowing the same to be especially made or especially adapted for use in an

infringement of the ’632 patent, and is not a staple article or commodity of commerce suitable

for substantial noninfringing use.

          120.   For example, claim 66 of the ’632 patent recites: A method comprising:

receiving sensor configuration information indicating a set of sensing elements available to a

tracking or navigation system; configuring a data processing module of the tracking or

navigation system based on the sensor configuration information to selectively perform one of

(a) receiving data from at least one inside-out bearing sensor, and updating an estimated pose of

an object based on data received from the inside-out bearing sensor, (b) receiving data from at

least one outside-in bearing sensor, and updating an estimated pose of an object based on data

received from the outside-in bearing sensor, and (c) receiving data from at least one inside-out

bearing sensor and at least one outside-in bearing sensor, and updating an estimated pose of an

object based on data received from the outside-in bearing sensor and the inside-out bearing

sensor.

          121.   Defendants induce or contribute to users practicing a method. For example,



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Defendants encourage, direct, or promote users of the Accused Products to carry out the claimed

method steps.

       122.     Defendants encourage, direct, or promote users to use the Accused Products to

receive sensor configuration information indicating a set of sensing elements available to a

tracking or navigation system. For example, Defendants have marketed, distributed, offered for

sale, and sold the Accused Products, which receive sensor configuration information (e.g.,

information from the controllers) indicating a set of sensing elements available to a tracking or

navigation system (e.g., the Oculus tracking system). The Accused Products are especially

adapted to carry out this process and have no substantial noninfringing uses.

       123.     Defendants encourage, direct, or promote users to use the Accused Products to

configure a data processing module of the tracking or navigation system based on the sensor

configuration information to selectively perform one of (a) receiving data from at least one

inside-out bearing sensor, and updating an estimated pose of an object based on data received

from the inside-out bearing sensor, (b) receiving data from at least one outside-in bearing sensor,

and updating an estimated pose of an object based on data received from the outside-in bearing

sensor, and (c) receiving data from at least one inside-out bearing sensor and at least one outside-

in bearing sensor, and updating an estimated pose of an object based on data received from the

outside-in bearing sensor and the inside-out bearing sensor. For example, Defendants have

marketed, distributed, offered for sale, and sold the Accused Products, which configure a data

processing module (e.g., the HMD data processing module (Oculus Quest, Oculus Quest 2) or

the data processing module operably connected to the Oculus Rift S HMD) of the tracking or

navigation system based on the sensor configuration information to selectively perform one of

(a) receiving data from at least one inside-out bearing sensor, and updating an estimated pose of



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an object (e.g., the user’s hands or the controllers) based on data received from the inside-out

bearing sensor, (b) receiving data from at least one outside-in bearing sensor, and updating an

estimated pose of an object (e.g., the user’s hands or the controllers) based on data received from

the outside-in bearing sensor, and (c) receiving data from at least one inside-out bearing sensor

and at least one outside-in bearing sensor, and updating an estimated pose of an object (e.g., the

user’s hands or the controllers) based on data received from the outside-in bearing sensor and the

inside-out bearing sensor). The Accused Products are especially adapted to carry out this

process and have no substantial noninfringing uses.

       124.    Exhibit I includes a chart comparing exemplary claims of the ’632 patent to the

Accused Products and their use, and is hereby incorporated by reference.

       125.    The foregoing allegations are based on publicly available information and a

reasonable investigation of the structure and operation of the Accused Products. Plaintiffs

reserve the right to modify this description, including, for example, on the basis of information

about the Accused Products that they obtain during discovery.

       126.    Defendants had actual knowledge of the ’632 patent as described above in

paragraphs 52 through 61, by July 21, 2014, or alternatively May 31, 2018, or alternatively July

8, 2020, or alternatively January 26, 2021.

       127.    Accordingly, before Defendants launched and began taking preorders for all of

the Accused Products, Defendants had knowledge of, or were willfully blind to, the ’632 patent

and that their activities infringed one or more claims of the ’632 patent. At the times the

Accused Products launched, Defendants also knew or should have known that their users were

infringing the ’632 patent, and Defendants took actions with the specific intent for their users to

do so, including as set forth in Exhibit I. These actions include specifically promoting and



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encouraging users to use the tracking methods and systems claimed in the ’632 patent.

Furthermore, the Accused Products are especially made and adapted to use in the tracking

methods and systems claimed in the ’632 patent, which Defendants promote as an important part

of the Accused Products.

        128.   Moreover, by at least July 22, 2021, Plaintiffs disclosed, at least by filing this

Complaint, the existence of the ’024 patent and identified the Accused Products that infringe the

’632 patent. Based on this disclosure, Defendants had knowledge of, or were willfully blind to,

the ’632 patent and that their activities infringed the ’632 patent. Since July 22, 2021,

Defendants also knew or should have known that their users were infringing the ’632 patent.

        129.   Defendants’ direct and indirect infringement of the ’632 patent has been, and

continues to be, within Gentex’s exclusive fields-of-use.

        130.   Defendants’ infringement has damaged and continues to damage Plaintiffs in an

amount yet to be determined, of at least a reasonable royalty.

        131.   Defendants have undertaken their infringing actions despite knowing that such

actions infringed the ’632 patent. As such, Defendants have willfully infringed and continue to

willfully infringe the ’632 patent.

        132.   This is an exceptional case. Plaintiffs are entitled to attorneys’ fees and costs

under 35 U.S.C. § 285 as a result of Defendants’ infringement of the ’632 patent.

                 COUNT V: INFRINGEMENT OF U.S. PATENT 7,725,253

        133.   Plaintiffs incorporate by reference and re-allege each of the foregoing paragraphs

of this Complaint as if fully set forth herein.

        134.   Defendants have directly infringed, and continue to directly infringe, one or more

claims of the ’253 patent, including at least claim 1, either literally or under the doctrine of

equivalents, by making, using, selling, and offering for sale, without authority or license, the

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Accused Products in violation of 35 U.S.C. § 271(a). The Accused Products are non-limiting

examples that were identified based on publicly available information, and Plaintiffs reserve the

right to identify additional infringing activities, products, and services, including, for example,

on the basis of information obtained during discovery.

       135.    Defendants have induced and continue to actively, knowingly, and intentionally

induce infringement of one or more claims of the ’253 patent, including at least claim 1, under

35 U.S.C. § 271(b) by actively encouraging others to make, use, sell, and offer to sell in the

United States, the Accused Products in a manner specifically intended to infringe the ’253 patent.

       136.    Defendants have contributed and continue to contribute to the infringement of one

or more claims of the ’253 patent, including at least claim 1, under 35 U.S.C. § 271(c) by

offering to sell and selling a component of the ’253 Accused Products, or a material or apparatus

for use in practicing a process claimed in the ’253 patent, that constitutes a material part of the

inventions, knowing the same to be especially made or especially adapted for use in an

infringement of the ’253 patent, and is not a staple article or commodity of commerce suitable

for substantial noninfringing use.

       137.    For example, claim 1 of the ’253 patent recites: A tracking system comprising: an

estimation subsystem; and a sensor subsystem coupled to the estimation subsystem and

configured to provide configuration data to the estimation subsystem and to provide

measurement information to the estimation subsystem for localizing an object; wherein the

estimation subsystem is configured to update a location estimate for the object based on

configuration data and measurement information accepted from the sensor subsystem.

       138.    The Accused Products are or contain a tracking system. For example, the

Accused Products are systems for tracking the location of objects.



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        139.    The Accused Products are or contain an estimation subsystem. For example,

Defendants have marketed, distributed, offered for sale, and sold the Accused Products, which

include an estimation subsystem (e.g., the HMD processor (Oculus Quest, Oculus Quest 2) or the

processor operably connected to the Oculus Rift S HMD).

        140.    The Accused Products are or contain a sensor subsystem coupled to the estimation

subsystem and configured to provide configuration data to the estimation subsystem and to

provide measurement information to the estimation subsystem for localizing an object. For

example, Defendants have marketed, distributed, offered for sale, and sold the Accused Products,

which include a sensor subsystem (e.g., the sensors of the HMD and/or controllers) coupled to

the estimation subsystem and configured to provide configuration data to the estimation

subsystem and to provide measurement information to the estimation subsystem for localizing an

object (e.g., the controllers or the user’s hands).

        141.    The Accused Products are or contain an estimation subsystem that is configured

to update a location estimate for the object based on configuration data and measurement

information accepted from the sensor subsystem. For example, Defendants have marketed,

distributed, offered for sale, and sold the Accused Products, which include an estimation

subsystem that is configured to update a location estimate for the object based on configuration

data and measurement information accepted from the sensor subsystem.

        142.    Exhibit J includes a chart comparing exemplary claims of the ’253 patent to the

Accused Products and their use, and is hereby incorporated by reference.

        143.    The foregoing allegations are based on publicly available information and a

reasonable investigation of the structure and operation of the Accused Products. Plaintiffs

reserve the right to modify this description, including, for example, on the basis of information



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about the Accused Products that they obtain during discovery.

       144.    Defendants had actual knowledge of the ’253 patent as described above in

paragraphs 52 through 61, by July 21, 2014, or alternatively May 31, 2018, or alternatively July

8, 2020, or alternatively January 26, 2021.

       145.    Accordingly, before Defendants launched and began taking preorders for all of

the Accused Products, Defendants had knowledge of, or were willfully blind to, the ’253 patent

and that their activities infringed one or more claims of the ’253 patent. At the times the

Accused Products launched, Defendants also knew or should have known that their users were

infringing the ’253 patent, and Defendants took actions with the specific intent for their users to

do so, including as set forth in Exhibit J. These actions include specifically promoting and

encouraging users to use the tracking methods and systems claimed in the ’253 patent.

Furthermore, the Accused Products are especially made and adapted to use in the tracking

methods and systems claimed in the ’253 patent, which Defendants promote as an important part

of the Accused Products.

       146.    Moreover, by at least July 22, 2021, Plaintiffs disclosed, at least by filing this

Complaint, the existence of the ’253 patent and identified the Accused Products that infringe the

’253 patent. Based on this disclosure, Defendants had knowledge of, or were willfully blind to,

the ’253 patent and that their activities infringed the ’253 patent. Since July 22, 2021,

Defendants also knew or should have known that their users were infringing the ’253 patent.

       147.    Defendants’ direct and indirect infringement of the ’253 patent has been, and

continues to be, within Gentex’s exclusive fields-of-use.

       148.    Defendants’ infringement has damaged and continues to damage Plaintiffs in an

amount yet to be determined, of at least a reasonable royalty.



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       149.    Defendants have undertaken their infringing actions despite knowing that such

actions infringed the ’253 patent. As such, Defendants have willfully infringed and continue to

willfully infringe the ’253 patent.

       150.    This is an exceptional case. Plaintiffs are entitled to attorneys’ fees and costs

under 35 U.S.C. § 285 as a result of Defendants’ infringement of the ’253 patent.

                                REQUEST FOR A JURY TRIAL

       151.    Plaintiffs request a jury trial of all issues in this action so triable.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request:

       A.      That Judgment be entered that Defendants have infringed one or more claims of

the Asserted Patents, directly and indirectly, literally and under the doctrine of equivalents;

       B.      An award of damages sufficient to compensate Plaintiffs for Defendants’

infringement under 35 U.S.C. § 284, including an enhancement of damages on account of

Defendants’ willful infringement;

       D.      That the case be found exceptional under 35 U.S.C. § 285 and that Plaintiffs be

awarded their reasonable attorneys’ fees;

       E.      Costs and expenses in this action;

       F.      An award of prejudgment and post-judgment interest; and

       G.      Such further relief as the Court may deem just and proper.




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Dated: July 22, 2021                Respectfully submitted,



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